          Case 1:11-cv-00764-EAW-HKS Document 226 Filed 04/06/18 Page 1 of 1



                                                                                                                   ATTORNEYS AT LAW
                                                                                                                   800 Third Avenue, 13th Floor
                                                                                                                   New York, New York 10022

                                                                                                                   T 212-471-6200
 Concepcion A. Montoya                                                                                             F 212-935-1166
 212-471-6228                                                                                                      www.hinshawlaw.com
 cmontoya@hinshawlaw.com




                                                               April 6, 2018

VIA ECF
Hon. Elizabeth A. Wolford
United States District Judge
United States District Court
Western District of New York
2 Niagara Square
Buffalo, New York 14202

           Re:          Godson v. Eltman, Eltman & Cooper, P.C., et al.
                        Docket No. 11-cv-0764 (WMS)(HKS)

Dear Judge Wolford:

       We represent Defendants in the above-referenced matter and write to respectfully request
an adjournment of the hearing on the motion to certify the class and approve the class settlement,
which is scheduled on April 19, 2018 at 3:00 p.m. Due to a scheduling conflict, both counsel for
Defendants are unable to attend the hearing and Plaintiff’s counsel consent to this request. Upon
consultation with plaintiff’s counsel, counsel for the parties are available on April 25, May 2 and
May 4. If the Court is available on any of the proposed dates, we request that the hearing be
rescheduled on any of those dates.

           We thank the Court for its consideration in this matter.

                                                                        Respectfully submitted,

                                                                        HINSHAW & CULBERTSON LLP



                                                                        By: s/ Concepcion A. Montoya
                                                                           Concepcion A. Montoya
cc:        Via E-mail and ECF
           Brian L. Bromberg, Esq.
           Jonathan Miller, Esq.
           Kenneth R. Hiller, Esq.
           Seth Andrews, Esq.
           Attorneys for Plaintiffs




Arizona    California   Florida   Illinois   Indiana   Massachusetts   Minnesota   Missouri   New York   Oregon   Rhode Island   Wisconsin
                                                                                                                     301474752v1 0929353
